   Case 2:15-cr-00061-SM-JCW           Document 170     Filed 04/13/15    Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                       CRIMINAL ACTION

VERSUS                                                         NUMBER: 15-061

LISA CRINEL, ET AL.                                            SECTION: “E”(5)



                                   ORDER AND REASONS

       Before the Court is the Motion to Compel the Government to Respond to Discovery

Related to Defendants’ Equal Protection Claim, filed by Defendants, Lisa Crinel (“Crinel”)

and PCAH, Inc. (“Abide”) (collectively “Defendants”). (Rec. doc. 33). Defendants filed a

supplemental memorandum in support of that motion (rec. doc. 39) and the government

has filed an opposition memorandum. (Rec. doc. 75). On April 8, 2015, the Court heard

oral argument on the motion. (Rec. doc. 165). Having considered the pleadings and the

evidence and law cited therein, as well as the parties’ arguments at the hearing, the Court

finds that the motion should be denied.

                                       BACKGROUND

       On March 25, 2014, various financial accounts in the names of Crinel, Abide and

Wilneisha Jakes (“Jakes”) were seized by the government pursuant to seizure warrants

following a finding of probable cause that the assets were traceable to a specified unlawful

activity, namely, health care fraud. On that same date, several search warrants were served

on four locations, including that of Abide.
   Case 2:15-cr-00061-SM-JCW           Document 170        Filed 04/13/15     Page 2 of 11




       On March 12, 2015, Crinel, Abide and Jakes, along with 18 other individuals, were

indicted by a grand jury on numerous counts alleging health care fraud and conspiracies to

commit health care fraud and to pay and receive illegal remunerations. The forfeiture of

the assets seized on March 25, 2014, along with additional assets and real estate, were

included in the forfeiture section of the indictment. (Rec. doc. 1).

       On March 13, 2015, Crinel and Abide filed a motion to suppress evidence on the

grounds that the search and seizure of her assets violated the equal protection clause, and

requested the return of property and assets seized. (Rec. doc. 26-1). Three days later,

counsel for Crinel and Abide sent the government a four-page letter requesting certain

discovery, including discovery related to Crinel’s equal protection claim, including a

request for discovery connected to the matter of United States v. Morad, No. 13-CR-101

(E.D. La.) (“Morad”). (Rec. doc. 33-2 at 1-4). Germane to the present motion, Crinel

requested the following:

                      (2) With respect to our pending claim for equal
              protection violations in this matter, we also ask for disclosure of
              the following information:

                      (1) A list of all Medicare fraud cases in the last 10 years
                          where the U.S. attorney’s office for the Eastern District
                          of Louisiana has seized personal financial assets of a
                          white American citizen prior to that citizen being
                          indicted and a description of the assets seized;

                      (2) A list of all Medicare fraud cases in the last 10 years,
                          where the U.S. attorney’s office for the Eastern District
                          of Louisiana has seized personal financial assets of a
                          black American citizen prior to that citizen being
                          indicted and a description of the assets seized;

                      (3) A list of all Medicare fraud cases in the last 10 years,
                          where the U.S. attorney’s office for the Eastern District
                          of Louisiana has seized personal financial assets of an

                                               2
    Case 2:15-cr-00061-SM-JCW                  Document 170           Filed 04/13/15        Page 3 of 11




                              American citizen of foreign descent and a description
                              of the assets seized. . . .

                                                                                       (Id.). 1

        The government responded to Crinel’s discovery request by letter dated March 18,

2015, addressing the various items requested and agreeing to provide much of the material

requested, save that regarding Crinel’s equal protection claim quoted above. (Id. at 8-14).

Specifically, with respect to Crinel’s request for 10 years of statistical information

regarding pre-indictment asset seizures in health care related cases in the Eastern District

of Louisiana, the Government stated:

                 You listed seven items “with respect to [your] pending claims for
                 equal protection violations.” You have the burden of providing a
                 colorable basis for believing that others similarly situated have
                 not been prosecuted in order to obtain the requested discovery.
                 As you have been informed on at least two different occasions,
                 your law partner, Walter Becker, represented a non-African
                 American individual in a health care prosecution, Artem
                 Gasparyan, who, on the day search warrants were executed, had
                 his bank account seized and he and his wife’s residence included
                 as a forfeiture. In fact, on April 29, 2011, multiple bank accounts
                 from five individuals and three companies owned by those
                 individuals were seized. All of these individuals, “similarly
                 situated” to your client, were not African American.

                                                                                       (Id.).

        The next day, March 19, 2015, Crinel and Abide filed the instant motion to compel,

seeking the disputed statistical information to support their then-pending motion to

suppress. (Rec. doc. 33). The motion to compel argues that Crinel and Abide have made

out a colorable claim for an equal protection violation sufficient to justify their discovery

requests in that: (1) they had demonstrated that a single “non-minority defendant” in the

above-referenced Morad matter had not been subjected to pre-indictment seizure, while

1 Crinel’s counsel also requested a variety of other discovery, not pertinent to this motion .


                                                        3
   Case 2:15-cr-00061-SM-JCW           Document 170        Filed 04/13/15     Page 4 of 11




Crinel, an African-American female, had had her assets seized pre-indictment and (2) the

defendant referenced in the government’s response who had had his assets seized pre-

indictment (Artem Gasparyan) was “a minority (an Armenian whom the Court noted had

questionable immigration status)” such that his asset seizure, along with that of Crinel’s,

demonstrate “a disturbing trend in this federal district of invoking civil seizure authority

against minorities in Medicare fraud cases while giving non-minorities a pass.” (Id. at 2).

Crinel and Abide later supplemented their motion to call to the Court’s attention the pre-

indictment seizure of assets of another female African-American Medicare fraud defendant,

Cheryln Armstrong, arguing that the comparative treatment of Armstrong, Crinel,

Gasparyan and Morad established a colorable showing of selective invocation of civil

seizure authority against “minorities.” (Rec. doc. 39, citing U.S. v. Armstrong, et al., No. 05-

CR-130 (E.D. La.)).

       The government responded, in part, by pointing out that Crinel and Abide had

essentially cherry-picked individual defendants from the aforementioned cases to suit their

needs in attempting to convince the Court that they had made a colorable showing of an

equal protection violation when, in reality, closer analysis of the government’s seizure

decisions in those cases demonstrates an even-handed, non-discriminatory, non-selective

approach to invoking pre-indictment seizure authority. (Rec. doc. 75). For instance, the

government pointed out that, in Morad, none of the defendants, including three African

Americans, had their assets seized. (Id.). Likewise, the government argued that in U.S. v.

Aram Khglation, et al., (the case involving the aforementioned Mr. Gasparyan), two white

American physicians were among the defendants who had their assets seized. (Id.).




                                               4
    Case 2:15-cr-00061-SM-JCW          Document 170       Filed 04/13/15    Page 5 of 11




         In addition to the foregoing argument, the government also points out that the

information sought by Crinel and Abide does not exist in any form approximating what was

requested, as the government does not maintain statistics of the sort requested by

Defendants in their motion (where seizure asset “statistics” are sorted by race, gender,

etc.).

         The briefing on this motion makes clear that the parties disagree about the level of

proof required for Crinel to make out a prima facie, colorable claim for selective

prosecution sufficient to satisfy the requirements of Rule 16 of the Federal Rules of

Criminal Procedure and the cases interpreting that Rule in the context of a claim such as

this. The parties’ arguments at the hearing on the motion made that fact even clearer.

                                       THE HEARING

         The Court began the hearing on this motion by pointing out to Crinel’s counsel an

anomaly in her briefing, namely, that despite properly observing that Rule 16 of the Federal

Rules of Criminal Procedure is the operative Rule here, Crinel cites no cases construing or

applying it in this context (or any other). Rather, the only two cases cited in her original

brief are civil cases that have nothing to do with the application of that Rule. Those cases,

Kelly v. City of Oak Park, No. 13-CV-10634, 2014 WL 4829601 (E.D. Mich. Sept. 29, 2014)

and Utt v. Brown, et al., No. 12-CT-3132, 2015 WL 470468 (E.D. N.C. Feb. 4, 2015),

concerned discovery disputes in civil matters that were decided under Rule 26 of the

Federal Rules of Civil Procedure. It is beyond dispute that Rule 16 (F.R.Cr.P.) and Rule 26

(F.R.C.P) establish vastly different limits upon discovery. For that reason, the Court noted

that these cases are inapposite here and Crinel’s suggestion in brief that they “reveal[] that




                                              5
    Case 2:15-cr-00061-SM-JCW                Document 170          Filed 04/13/15       Page 6 of 11




federal district courts routinely compel parties to produce” 2 evidence similar to what is

sought through the current motion was simply wrong.

         This observation led counsel to launch into a discussion of a series of heretofore un-

cited cases that naturally caught the Court (and, no doubt, the government’s counsel)

unawares. 3 These cases, it was promised, all stand for the proposition that in cases such as

this one – where a criminal defendant seeks discovery regarding a selective prosecution

claim – a defendant need only come forward with one comparator or similarly situated

defendant to make out a prima facie case sufficient to obtain that discovery. Alas, review of

those newly cited cases reveals that they are no more helpful here than the two cases cited

in Crinel’s original brief.

                                         LAW AND ANALYSIS

         Rule 16 of the Federal Rules of Criminal Procedure provides, in pertinent part:

                  Upon request of the defendant the government shall permit the
                  defendant to inspect and copy or photograph books, papers,
                  documents, photographs, tangible objects, buildings or places,
                  or copies or portions thereof, which are within the possession,
                  custody or control of the government, and which are material
                  to the preparation of the defendant's defense or are intended
                  for use by the government as evidence in chief at the trial, or
                  were obtained from or belong to the defendant.

                                                                  Fed. Rule Crim. Proc.
                                                                 16(a)(1)(C)(emphasis
                                                                               added).




2 (Rec. doc. 33-1 at 6).
3 The Court assumes the timing was unintentional. In the future, however, the Court strongly suggests that if
cases are worthy of citation and discussion at the outset of an oral argument, they are worthy of citation in
brief in advance of that argument. The Court and opposing counsel are entitled to such a simple
accommodation.

                                                     6
    Case 2:15-cr-00061-SM-JCW             Document 170     Filed 04/13/15     Page 7 of 11




The threshold question here, then, is whether the material requested in Crinel’s motion is

“material to the presentation of [her] defense.”

        At this point it is important to note that the government suggests that “although

couched as an equal protection claim, Crinel is really asserting something akin to a

selective prosecution claim, as she contends her assets were seized by the government

based upon her race and gender.” (Rec. doc. 75 at 7, n. 5). 4 Accordingly, it asserts that this

discovery motion should be analyzed under the line of cases concerning Rule 16 discovery

in selective prosecution claims. The Court agrees.

        The Supreme Court has spoken plainly on the pertinent question raised by the

present motion:

                 A selective-prosecution claim is not a defense on the merits to
                 the criminal charge itself, but an independent assertion that
                 the prosecutor has brought the charge for reasons forbidden
                 by the Constitution. Our cases delineating the necessary
                 elements to prove a claim of selective prosecution have taken
                 great pains to explain that the standard is a demanding one.
                 These cases afford a “background presumption” that the
                 showing necessary to obtain discovery should itself be a
                 significant barrier to the litigation of insubstantial claims.

                                                  U.S. v. Armstrong, 517 U.S. 456,
                                            463-64, 116 S.Ct. 1480, 1486 (1996)
                                             (citing United States v. Mezzanatto,
                                                      513 U.S. 196, 203, 115 S.Ct.
                                                                 797, 803 (1995).

        Because a selective-prosecution claim “asks a court to exercise judicial power over a

‘special province’ of the Executive. . . ‘[t]he presumption of regularity supports’ []

prosecutorial decisions and, ‘in the absence of clear evidence to the contrary, courts

presume that they have properly discharged their official duties.’” Id. at 464, 116 S.Ct. at


4 Crinel does not refute this argument.


                                                7
   Case 2:15-cr-00061-SM-JCW           Document 170       Filed 04/13/15     Page 8 of 11




1486. “To overcome this presumption, a defendant must prove both discriminatory effect

and discriminatory purpose by presenting ‘clear evidence.’” In re U.S., 397 F.3d 274, 284

(5th Cir.), cert. denied, 544 U.S. 911, 125 S.Ct. 1611 (2005)(quoting Armstrong, supra at 465,

116 S.Ct. at 1486)(emphasis added).

       With all this in mind, the Court observes that at the hearing on this motion, Crinel’s

counsel suggested that “there is no disagreement today about the standard that I have to

meet in order to obtain discovery. It's admitted in the government's brief.” (Tr. at 3). As it

turns out, there is substantial disagreement as to the proper standard to be met to obtain

that discovery. This is crucially important here – the outcome of this motion turns on that

standard and its application to what is now before the District Judge on the motion to

suppress.

       As noted earlier, the two cases actually cited in Crinel’s briefs are inapposite here.

Turning, then, to the cases referenced by Crinel’s counsel at the hearing, each of those cases

are “class of one” equal-protection claims brought by plaintiffs in civil actions. The United

States Supreme Court has described the prima facie “class of one” case as follows: “[o]ur

cases have recognized successful equal protection claims brought by a ‘class of one,’ where

the plaintiff alleges that she has been intentionally treated differently from others similarly

situated and that there is no rational basis for the difference in treatment.” Village of

Willowbrook v. Olech, 528 U.S. 562, 564, 120 S.Ct. 1073, 1074-75 (2000)(citing Sioux City

Bridge Co. v. Dakota County, 260 U.S. 441, 43 S.Ct. 190 (1923)).

       Indeed, in citing all these cases at the hearing, counsel posited that the following

standard synthesized from those cases should apply in this case:

              So the government has incorrectly stated a standard in their
              brief. One example is enough. One example of discrimination
                                              8
   Case 2:15-cr-00061-SM-JCW           Document 170       Filed 04/13/15      Page 9 of 11




              without rational basis is enough, period. And we have met that
              standard here, Judge, with the Morad case.

                                                          (Tr. at 5).


       If this were a civil matter brought by a “class of one” plaintiff alleging an equal

protection violation, the standard for establishing a prima facie case would be as Crinel’s

counsel suggested at the hearing. But this is not such a case.

       This is a criminal matter, which means the availability of discovery is governed by

Rule 16 (which, incidentally, is not cited in any of the cases relied upon by Crinel). More

specifically, the matter now before the Court is a discovery motion related to an equal

protection claim that is clearly a type of selective prosecution claim. There is a specific and

well-developed body of law that speaks to just this sort of discovery effort; the Court need

not cast about for analogs in the civil arena when there is on-point case law from the

Supreme Court and Fifth Circuit that is dispositive in these circumstances.

       “A court's consideration of an Equal Protection-based claim of selective prosecution

necessarily begins with a presumption of good faith and constitutional compliance by the

prosecutors. In re U.S., 397 F.3d at 284 (citing Armstrong, 517 U.S. at 465–66, 116 S.Ct. at

1486–87).

              To overcome this presumption, a defendant must prove both
              discriminatory effect and discriminatory purpose by
              presenting “clear evidence.” Before a criminal defendant is
              entitled to any discovery on a claim of selective prosecution, he
              must make out a prima facie case. The prima facie case of
              selective prosecution requires the criminal defendant to bring
              forward some evidence that similarly situated individuals of a
              different race could have been prosecuted, but were not. More
              specifically, a defendant must first present evidence of both
              discriminatory effect and discriminatory intent.



                                              9
    Case 2:15-cr-00061-SM-JCW               Document 170          Filed 04/13/15       Page 10 of 11




                                                      Id. (quoting Armstrong, 517 U.S.
                                                             at 465, 116 S.Ct. at 1486).

        To prevail on their motion, then, Crinel and Abide must adduce “clear evidence” of

both discriminatory effect and intent. This is a standard wholly different than the “class of

one” standard that Defendants’ counsel suggests applies here and it is a standard that

Defendants have failed to satisfy.

        Defendants’ counsel argued strenuously at the hearing that his clients had made out

a prima facie case sufficient to obtain the requested discovery, but counsel was advocating

for application of the wrong standard: “Every equal protection case I read is looking for

this type of evidence – every single one. It says give me a name; give me a name. I've given

you a name.” (Tr. at 11). The problem is that every equal protection case that counsel cited

to this Court was a “class of one” civil case. The standard applied in those cases and the

proper standard to be applied in this one are not fungible.

        Defendants have done no more here than point to one or two “comparators” who

they say were similarly situated yet treated differently than Crinel because she is a member

of a protected class and the comparators are not. They provide no evidence whatsoever to

establish that these individuals are, in fact, similarly situated, nor do they point to any

evidence at all, much less “clear evidence,” to make any showing of discriminatory intent.

When the government pointed out in its brief that Defendants were cherry-picking

comparators from the various indictments they cited in their motion, 5 Defendants

responded with nothing, other than to argue at the hearing that the government was wrong



5 Specifically, the government pointed out that while Morad did not have his assets seized, neither did three
African American co-defendants of Morad’s in that case. Similarly, the government pointed out that, while
Gasparyan (a “minority” defendant) had his assets seized, so did two white American doctors in that case.
(Rec. doc. 75 at 2-6).

                                                    10
   Case 2:15-cr-00061-SM-JCW           Document 170   Filed 04/13/15   Page 11 of 11




and to suggest it didn’t matter anyway because all Defendants had to do to establish

entitlement to the subject discovery was to “give [the court] a name” of a “comparator.”

(Tr. at 4, 11). This is simply insufficient under Armstrong and its progeny to obtain the

requested discovery.

                                        CONCLUSION

       For the foregoing reasons, the Motion to Compel the Government to Respond to

Discovery Related to Defendants’ Equal Protection Claim, filed by Defendants, Lisa Crinel

(“Crinel”) and PCAH, Inc. is DENIED.

       New Orleans, Louisiana, this 12th day of            April           , 2015.




                                                       MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE




                                            11
